
19 N.Y.2d 619 (1967)
In the Matter of the Claim of Benjamin Scheiber, Respondent,
v.
I. Simon &amp; Co. et al., Appellants, and Special Disability Fund, Respondent. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Submitted January 11, 1967.
Decided January 19, 1967.
Joseph M. Soviero and Bernard F. Farley for appellants.
Louis J. Lefkowitz, Attorney-General (Henriette Frieder, Ruth Kessler Toch and Daniel Polansky of counsel), for Workmen's Compensation Board, respondent.
Concur: Judges BURKE, BERGAN, KEATING and BREITEL. Chief Judge FULD and Judges VAN VOORHIS and SCILEPPI dissent and vote to reverse and to dismiss the claim for the reasons stated in the dissenting opinion at the Appellate Division.
Order affirmed, with costs to respondent Workmen's Compensation Board; no opinion.
